          Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 1 of 61




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

DOLORES LOZANO,                                  §
                                                 §
        Plaintiff,                               §
                                                 §
vs.                                              §
                                                 §       CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,                   §
in his individual capacity; IAN MCCAW,           §
in his individual capacity, and CITY OF          §
WACO,                                            §
                                                 §
        Defendants.                              §

                      DEFENDANT IAN McCAW’S NOTICE TO COURT
                         OF FILING OF PRE-TRIAL MATERIALS

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Ian McCaw, a Defendant in the above-styled and numbered cause

(“McCaw” or “Defendant”), and provides this Notice to the Court of his filing of the following

pre-trial materials, in compliance with Local Rule CV-16(f):

        Exhibit 1:       McCaw’s Proposed Voir Dire Questions

        Exhibit 2:       McCaw’s Statement of Defenses

        Exhibit 3:       Statement of Stipulated Facts

        Exhibit 4:       McCaw’s Exhibit List

        Exhibit 5:       McCaw’s Witness List

        Exhibit 6:       McCaw Designation of Deposition Testimony

        Exhibit 7:       McCaw’s Requested Jury Instructions and Questions

        Exhibit 8:       McCaw’s Motion in Limine and Proposed Order

        Exhibit 9:       McCaw’s Estimate of Trial Length
Defendant Ian McCaw’s Notice to Court                                                   Page 1
(28937/752278/sdh)
          Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 2 of 61




                                            Respectfully submitted,

                                            /s/ Thomas P. Brandt
                                            THOMAS P. BRANDT
                                            State Bar No.02883500
                                            tbrandt@fhmbk.com
                                            STEPHEN D. HENNINGER
                                            State Bar No.00784256
                                            shenninger@fhmbk.com
                                            FANNING HARPER MARTINSON
                                            BRANDT & KUTCHIN, P.C.
                                            One Glen Lakes
                                            8140 Walnut Hill Lane, Suite 200
                                            Dallas, Texas 75231
                                            (214) 369-1300 (office)
                                            (214) 987-9649 (telecopier)
                                            ATTORNEYS FOR DEFENDANT
                                            IAN McCAW


                                    CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing document
with the Clerk of the Court through the ECF system and an email notice of the electronic filing
was sent to all attorneys of record.


                                            /s/ Thomas P. Brandt
                                            THOMAS P. BRANDT




Defendant Ian McCaw’s Notice to Court                                                      Page 2
(28937/752278/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 3 of 61




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

DOLORES LOZANO,                                §
                                               §
       Plaintiff,                              §
                                               §
vs.                                            §
                                               §      CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,                 §
in his individual capacity; IAN MCCAW,         §
in his individual capacity, and CITY OF        §
WACO,                                          §
                                               §
       Defendants.                             §


            DEFENDANT IAN McCAW’S PROPOSED VOIR DIRE QUESTIONS

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Defendant Ian McCaw (“Defendant” or “McCaw”) and submits his

proposed Voir Dire questions:

A.     Potential Bias/Prejudice

       1.      Has anyone on the jury panel heard, read, or seen anything about Ian McCaw?

               a.     If so, what did you hear, read, or see?

               b.     Would what you heard, read, or saw cause you to be biased or unfair
                      when listening to the evidence in this case or would it not allow you to
                      render a fair and impartial verdict?

       2.      Has anyone on the jury panel heard, read, or seen anything about Art Briles?

               a.     If so, what did you hear, read, or see?

               b.     Would what you heard, read, or saw cause you to be biased or unfair
                      when listening to the evidence in this case or would it not allow you to
                      render a fair and impartial verdict?



Defendant Ian McCaw’s Proposed Voir Dire Questions                                            Page 1
(28937/751223/sdh)


                                                                                       EXHIBIT 1
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 4 of 61




       3.      Has anyone on the jury panel heard, read, or seen anything about the Baylor
               “sexual assault scandal"?

               a.     If so, what did you hear, read, or see?

               b.     Would what you heard, read, or saw cause you to be biased or unfair
                      when listening to the evidence in this case or would it not allow you to
                      render a fair and impartial verdict?

       4.      Has anyone on the juror panel had experience with domestic violence, or know
               someone who has?

               a.     If so, explain?

               b.     Would anything about that cause you to be biased or unfair when
                      listening to the evidence in this case or would it not allow you to render
                      a fair and impartial verdict?

       5.      Do any of you, or any of your family members, have training or experience in
               the practice of law?

               a.     If yes, who?

               b.     Please describe the training or experience.

               c.     Would this experience cause you to be biased or unfair when listening to
                      the evidence in this case or would it not allow you to render a fair and
                      impartial verdict?

B.     Baylor University is a Defendant in this case.

       1.      Baylor University is a Defendant in this case. Have any of you ever had
               dealings with Baylor University, or any of its employees or representatives?

               a.     What were the experiences and were they positive or negative?

               b.     Would this experience(s) cause you to be biased or unfair when listening
                      to the evidence in this case or would it not allow you to render a fair and
                      impartial verdict?

C.     Involved in Lawsuits

       1.      Has anyone on the panel been a party to a lawsuit either as a Plaintiff or as a
               Defendant?

Defendant Ian McCaw’s Proposed Voir Dire Questions                                               Page 2
(28937/751223/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 5 of 61




               a.     If so, were you a plaintiff or a defendant?

               b.     What was the lawsuit about?

               c.     Would this experience cause you to be biased or unfair when listening to
                      the evidence in this case or would it not allow you to render a fair and
                      impartial verdict?

       2.      Has anyone on the panel filed a claim or lawsuit against a person or company
               seeking damages for any type of injury?

               a.     Can you describe the type of claim or lawsuit and the injuries that you
                      sustained?

               b.     What was the result of the claim or lawsuit?

               c.     Would this experience cause you to be biased or unfair when listening to
                      the evidence in this case or would it not allow you to render a fair and
                      impartial verdict?

       3.      Has anyone on the panel ever been sued in a lawsuit where the Plaintiff was
               seeking damages?

               a.     Can you describe the type of lawsuit?

               b.     What was the result of the lawsuit?

               c.     Would this experience cause you to be biased or unfair when listening to
                      the evidence in this case or would it not allow you to render a fair and
                      impartial verdict?

       4.      Do any of you think that if a person is suing, that they were most likely
               wronged?

       5.      Do any of you think that if a party is being sued, that they most likely did
               something wrong?



D.     General

       1.      Based on the information that you have learned about this case so far, is there
               anything that would cause you to be biased or unfair to either party or prevent
               you from rendering a fair and impartial verdict?

               a.     If so, please explain.


Defendant Ian McCaw’s Proposed Voir Dire Questions                                           Page 3
(28937/751223/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 6 of 61




       2.      Finally, is there anything that you believe that the Court and the attorneys
               should know about your background, experiences, or thoughts and feelings
               about this case that has not been asked about, but that you feel would hinder
               your ability to render a fair and impartial verdict?

               a.     If so, please explain.



                                               Respectfully submitted,

                                               /s/ Stephen D. Henninger
                                               THOMAS P. BRANDT
                                               State Bar No.02883500
                                               tbrandt@fhmbk.com
                                               STEPHEN D. HENNINGER
                                               State Bar No.00784256
                                               shenninger@fhmbk.com
                                               FANNING HARPER MARTINSON
                                               BRANDT & KUTCHIN, P.C.
                                               One Glen Lakes
                                               8140 Walnut Hill Lane, Suite 200
                                               Dallas, Texas 75231
                                               (214) 369-1300 (office)
                                               (214) 987-9649 (telecopier)
                                               ATTORNEYS FOR DEFENDANT
                                               IAN McCAW

                               CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been
delivered to all parties of record, in compliance with Rule 5 of the Federal Rules of Civil
Procedure, on September 15, 2023.

                                               /s/ Stephen D. Henninger
                                               STEPHEN D. HENNINGER




Defendant Ian McCaw’s Proposed Voir Dire Questions                                      Page 4
(28937/751223/sdh)
          Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 7 of 61




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

DOLORES LOZANO,                                 §
                                                §
        Plaintiff,                              §
                                                §
vs.                                             §
                                                §       CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,                  §
in his individual capacity; IAN MCCAW,          §
in his individual capacity, and CITY OF         §
WACO,                                           §
                                                §
        Defendants.                             §

                 DEFENDANT IAN McCAW’S STATEMENT OF DEFENSES

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Ian McCaw, a Defendant in the above-styled and numbered cause

(“McCaw” or “Defendant”), and provides his statement of defenses to be used by the Court in

conducting voir dure, in compliance with Local Rule CV-16(f):

        In this lawsuit, Plaintiff Dolores Lozano seeks to hold Ian McCaw personally liable to

her for monetary damages because her boyfriend, Devin Chafin, allegedly physically assaulted

her. Ian McCaw is not alleged to have had any involvement in those assaults or any of the events

surrounding them. Indeed, Ian McCaw had no knowledge of Plaintiff and Devin Chafin’s

relationship, or any problems they were having, until after the events on which this suit is based.

Nothing Ian McCaw did or did not do, in any way, caused Devin Chafin to physically assault

Dolores Lozano, and Ms. Lozano has no evidence to the contrary. The only person who is at

fault for Devin Chafin assaulting Plaintiff, and the only person who should be held responsible

for those assaults, is Devin Chafin. Dolores Lozano has, however, chosen not to sue Devin

Defendant Ian McCaw’s Statement of Defenses                                                  Page 1
(28937/752330/sdh)



                                                                                           EXHIBIT 2
          Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 8 of 61




Chafin, or otherwise hold him responsible for the acts of violence she claims he committed.

Instead, Plaintiff seeks to hold Ian McCaw and the other Defendants responsible for Devin

Chafin’s intentional, criminal acts of violence. You will not be given any valid reason to do so.



                                              Respectfully submitted,

                                              /s/ Thomas P. Brandt
                                              THOMAS P. BRANDT
                                              State Bar No.02883500
                                              tbrandt@fhmbk.com
                                              STEPHEN D. HENNINGER
                                              State Bar No.00784256
                                              shenninger@fhmbk.com
                                              FANNING HARPER MARTINSON
                                              BRANDT & KUTCHIN, P.C.
                                              One Glen Lakes
                                              8140 Walnut Hill Lane, Suite 200
                                              Dallas, Texas 75231
                                              (214) 369-1300 (office)
                                              (214) 987-9649 (telecopier)
                                              ATTORNEYS FOR DEFENDANT
                                              IAN McCAW


                                    CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing document
with the Clerk of the Court through the ECF system and an email notice of the electronic filing
was sent to all attorneys of record.


                                              /s/ Thomas P. Brandt
                                              THOMAS P. BRANDT




Defendant Ian McCaw’s Statement of Defenses                                                  Page 2
(28937/752330/sdh)
           Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 9 of 61




                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 DOLORES LOZANO;                                §
                                                §
                  Plaintiff,                    §
                                                §
                                                § Case No.: 6:16-cv-00403
                                                §
 v.                                             §
                                                § Hon. Robert Pitman
 BAYLOR UNIVERSITY; ART BRILES, in              §
 his individual capacity; and IAN MCCAW,        §
 in his individual capacity.                    §
                                                §
                                                §
                  Defendants.                   §
                                                §
                                                §
                                                §
                                                §
                                                §


                         JOINT STATEMENT OF STIPULATED FACTS


1. Plaintiff Dolores Lozano was born on November 10, 1991.


2. Dolores Lozano enrolled at Baylor University in August 2010 and graduated in May 2014
      with a Bachelor of Science degree in Communication Sciences and Disorders.

3. Devin Chafin was born on May 5, 1994.

4. Devin Chafin was in the 2012 recruiting class of the football team.

5. Devin Chafin enrolled at Baylor University during the summer of 2012.

6. Art Briles was the head football coach at Baylor University from December 2007 through
      May 2016.




                                                1

                                                                                   EXHIBIT 3
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 10 of 61




7. Ian McCaw was the Athletic Director at Baylor University from September 2003 through
     May 2016.


8.   Because Baylor University is a recipient of federal funds in the form of student financial aid
     and research grants, it is subject to Title IX of the Education Amendments of 1972.



9. Kendall Briles, Jeff Lebby and Colin Shillinglaw were hired while Art Briles was head
     coach.


10. Dolores Lozano worked as a manager for the Acrobatics and Tumbling team during the 2013-
     14 academic year.

11. In the spring semester of 2014, Spring Break at Baylor University was held from Monday,
     March 10 to Friday, March 14. Classes resumed on Monday, March 17, 2014.

12. Baylor University’s annual campus celebration known as Dia del Oso (Day of the Bear) was
     held on Thursday, April 10, 2014.

13. Baylor University was closed on Good Friday, April 18, 2014, and on Monday, April 21,
     2014.

14. The last day of classes for the Spring 2014 semester at Baylor University was May 2, 2014.
     Final examinations were held May 7, 2014 through May 13, 2014. Commencement exercises
     were held May 16 and May 17, 2014.

15. Baylor’s undergraduate student enrollment at its main campus in Waco, Texas was 12,438
     students in 2010; 12,575 students in 2011; 12,918 students in 2012; 13,292 students in 2013;
     and 13,859 students in 2014.

16. Lozano has been employed by Harris County, Texas as a Justice of the Peace, Precinct 2,
     Place 2, since January 2023.




                                                 2
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 11 of 61




17. Baylor University does not own Scruffy Murphy’s bar, which is located at 1226 Speight
   Avenue in Waco, Texas.




                                              3
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 12 of 61




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DOLORES LOZANO,                             §
                                            §
        Plaintiff,                          §
                                            §
vs.                                         §
                                            §      CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,              §
in his individual capacity; IAN MCCAW,      §
in his individual capacity, and CITY OF     §
WACO,                                       §
                                            §
        Defendants.                         §


                       DEFENDANT IAN McCAW’S EXHIBIT LIST

        NOW COMES Defendant Ian McCaw (“Defendant” or “McCaw”) and files his Exhibit

List.

        A.     EXHIBITS DEFENDANT EXPECTS TO OFFER

DX No.        Description                                      Offered    Admitted
1             Plaintiff’s Second Amended Complaint
2             E-mails between Plaintiff and David Murdock of
              November 19 and 20, 2012 (BU_Lozano_0076234-
              0076237)
3
4
5
6
7


        B.     EXHIBITS DEFENDANT MAY OFFER IF THE NEED ARISES

DX No.        Description                                      Offered    Admitted
8
9
10
11.
12.

Defendant Ian McCaw Exhibit List
(28937/751221/sdh)                                                            Page | 1

                                                                             EXHIBIT 4
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 13 of 61




        C.      CROSS-DESIGNATION OF EXHIBITS

        Defendant cross-designates all exhibits and potential exhibits identified by Plaintiff

Dolores Lozano, Defendant Baylor University, and Defendant Art Briles, and reserves the right

to utilize any such exhibits at the trial of this cause.


                                                 Respectfully submitted,

                                                 /s/ Stephen D. Henninger
                                                 THOMAS P. BRANDT
                                                 State Bar No.02883500
                                                 tbrandt@fhmbk.com
                                                 STEPHEN D. HENNINGER
                                                 State Bar No.00784256
                                                 shenninger@fhmbk.com
                                                 FANNING HARPER MARTINSON
                                                 BRANDT & KUTCHIN, P.C.
                                                 One Glen Lakes
                                                 8140 Walnut Hill Lane, Suite 200
                                                 Dallas, Texas 75231
                                                 (214) 369-1300 (office)
                                                 (214) 987-9649 (telecopier)
                                                 ATTORNEYS FOR DEFENDANT
                                                 IAN McCAW




                                   CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing document
with the Clerk of the Court through the ECF system and an email notice of the electronic filing
was sent to all attorneys of record.



                                                 /s/ Stephen D. Henninger
                                                 STEPHEN D. HENNINGER




Defendant Ian McCaw Exhibit List
(28937/751221/sdh)                                                                        Page | 2
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 14 of 61




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DOLORES LOZANO,                           §
                                          §
        Plaintiff,                        §
                                          §
vs.                                       §                                    s
                                          §      CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,            §
in his individual capacity; IAN MCCAW,    §
in his individual capacity, and CITY OF   §
WACO,                                     §
                                          §
        Defendants.                       §

                       DEFENDANT IAN MCCAW’S WITNESS LIST

        NOW COMES Defendant Ian McCaw (“Defendant” or “McCaw”), and files his Witness

List.

                                          I.

                         WITNESSES EXPECTED TO BE CALLED

Dolores Lozano
10590 W. Ocean Air Drive, Suite 125
San Diego, California 92130
(858) 259-3011
(Attorney’s address and phone)

Ian McCaw
8140 Walnut Hill Lane, Suite 200
Dallas, Texas 75231
(214) 369-1300
(Attorney’s address and phone)

Art Briles
1980 Post Oak Blvd., Suite 1800
Houston, Texas 77056
(713) 759-1990
(Attorney’s address and phone)




Defendant Ian McCaw’s Witness List
(28937/751222/sdh)                                                             Page 1

                                                                                 EXHIBIT 5
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 15 of 61




Devin Chafin (by deposition)
Address unknown
(940) 613-3731

Nancy Post, Baylor Associate Athletic Director
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)



                                       II.
                           WITNESSES WHO MAY BE CALLED

Todd Patulski
1971 University Blvd.
Lynchburg, Virginia 24515
(434) 582-2000

Wes Yeary (by deposition)
Address and phone number unknown

Lillian Lozano (by deposition)
10590 W. Ocean Air Drive, Suite 125
San Diego, California 92130
(858) 259-3011
(Plaintiff’s attorney’s address and phone)

Laprise Harris Williams
Address and phone number unknown

Bethany J. McCraw, Baylor Associate Dean for Student Conduct Administration
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

David Murdock, Baylor Judicial Affairs Coordinator
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)


Defendant Ian McCaw’s Witness List
(28937/751222/sdh)                                                            Page 2
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 16 of 61




Kathy Reich, Baylor Office Manager, Judicial Affairs
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Jimmie Farmer, Baylor Records Technician, Judicial Affairs
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Martha Lou Scott, Ed. D., Baylor Associate Vice President for Student Life
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Mike Rogers, Baylor NCAA Faculty Athletic Representative
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Jeremy Counseller, Baylor University Faculty Athletics Representative and Law Professor
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Chris Holmes, Baylor Office of General Counsel
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)




Defendant Ian McCaw’s Witness List
(28937/751222/sdh)                                                                Page 3
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 17 of 61




Doug Welch, Baylor Director of Compliance
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Kevin P. Jackson, Ph.D., Baylor Vice President for Student Life
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

David Garland, Interim President of Baylor University
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Reagan Ramsower, Baylor Senior Vice President and Chief Operating Officer
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Chris Istre, Baylor University Business Office
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Jim March, Director of Baylor Counseling Center
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)




Defendant Ian McCaw’s Witness List
(28937/751222/sdh)                                                          Page 4
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 18 of 61




Cheryl Wooten, Baylor Counseling Center
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Don Arterburn, Baylor Counseling Center
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Ron Murff (by deposition)
Richard Willis
Buddy Jones
Dary Stone
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

David Harper
Cary Gray (by deposition)
Mark Hurd
Jay Allison
Jeff Reeter
Clifton Robinson
Dennis Wiles
Bob Beauchamp
Phil Stewart
Mark McCollum
Milton Hixson
Phoenix Tower, Suite 2000
3200 Southwest Freeway
Houston, Texas 77027
(713) 554-6741
(Baylor attorney’s address and phone)

Brent R. Howell
Address and phone number unknown

Jim Doak
Address and phone number unknown


Defendant Ian McCaw’s Witness List
(28937/751222/sdh)                                                        Page 5
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 19 of 61




Colin Shillinglaw (by deposition)
Address unknown
(254) 733-5234

Patty Crawford
Address and phone number unknown

Jeff Lebby (by deposition)
Address and phone number unknown




                                            Respectfully submitted,

                                            /s/ Stephen D. Henninger
                                            THOMAS P. BRANDT
                                            State Bar No.02883500
                                            tbrandt@fhmbk.com
                                            STEPHEN D. HENNINGER
                                            State Bar No.00784256
                                            shenninger@fhmbk.com
                                            FANNING HARPER MARTINSON
                                            BRANDT & KUTCHIN, P.C.
                                            One Glen Lakes
                                            8140 Walnut Hill Lane, Suite 200
                                            Dallas, Texas 75231
                                            (214) 369-1300 (office)
                                            (214) 987-9649 (telecopier)
                                            ATTORNEYS FOR DEFENDANT
                                            IAN McCAW


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing document
with the Clerk of the Court through the ECF system and an email notice of the electronic filing
was sent to all attorneys of record.

                                            /s/Stephen D. Henninger
                                            STEPHEN D. HENNINGER




Defendant Ian McCaw’s Witness List
(28937/751222/sdh)                                                                        Page 6
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 20 of 61




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DOLORES LOZANO,                                  §
                                                 §
       Plaintiff,                                §
                                                 §
vs.                                              §
                                                 §          CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,                   §
in his individual capacity; IAN MCCAW,           §
in his individual capacity, and CITY OF          §
WACO,                                            §
                                                 §
       Defendants.                               §

      DEFENDANT IAN MCCAW’S DESIGNATION OF DEPOSITION TESTIMONY

       NOW COMES Defendant Ian McCaw (“Defendant” or “McCaw”), and files his

Designation of Deposition Testimony that may be offered in this case.


Devin Chafin

       1) p. 9,line 25 to p. 10, line 9

       2) p. 16, lines 3-25

       3) p. 17, line 23 to p. 18, line 8

       4) p. 20, lines 14-23

       5) p. 58, line 18 to p. 69, line 2

       6) p. 70, line 16 to p. 72, line 2

       7) p. 78, lines 9-24

       8) p. 82, lines 3-24

       9) p. 85, line 8 to p. 86, line 6

       10) p. 104, line 6 to p. 105, line 7

Defendant Ian McCaw’s Designation of Deposition Testimony
(28937/751333/sdh)                                                                    Page 1

                                                                                        EXHIBIT 6
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 21 of 61




       11) p. 105, line 24 to p. 107, line 25

       12) p. 119, line 23 to p. 124, line 3

       13) p. 125, line 12 to p. 128, line 21

Wes Yeary

       1) p. 8, lines 2-5

       2) p. 13, line 8 to p. 16, line 13

       3) p. 17, line 19 to p. 18, line 8


       4) p. 18, line 23 to p. 19, line 8


       5) p. 23, line 2 to p. 24, line 9


       6) p. 25, lines 1-13


       7) p. 25, line 8 to p. 29, line 23


       8) p. 27, lines 1-8


       9) p. 28, lines 14-18


       10) p. 28, line 22 to p. 30, line 13


       11) p. 30, line 21, to p. 31, line 3


       12) p. 38, lines 3-8


       13) p. 38, line 21 to p. 39, line 15


       14) p. 40, lines 21-23


       15) p. 42, line 9 to p, 43, line 22
Defendant Ian McCaw’s Designation of Deposition Testimony
(28937/751333/sdh)                                                        Page 2
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 22 of 61




       16) p. 45, line 10 to p. 47,line 6


       17) p. 47, lines 18-21


       18) p. 48, line 21 to p. 49, line 4


       19) p. 50, lines 2-20


       20) p. 51, lines 3-15


       21) p. 52, line 15 to p. 53, line 15


       22) p. 74, line 13 to p. 75, line 19


       23) p. 78, line 24 to p, 79, line 11


       24) p. 88, lines 2-9


       25) p. 90, line 5 to p. 92, line 4

Colin Shillinglaw

       1) p. 8, lines 5-18

       2) p. 28, lines 13-23


       3) p. 31, line 7 to p. 32, line 24


       4) p. 110, lines 21-25


       5) p. 117, line 8 to p. 118,line 3


       6) p. 130, line 25 to p. 131, line 9

Defendant Ian McCaw’s Designation of Deposition Testimony
(28937/751333/sdh)                                                        Page 3
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 23 of 61




Lillian Lozano

       1) p. 8, lines 5-14

       2) p. 112, line 17 to p. 113, line 23

       3) p. 117, line 8 to p. 118, line 20

       4) p. 118, line 24 to p. 119, line 6


Jeff Lebby

       1) p. 5, lines 12-14

       2) p. 12, lines 12-19

       3) p. 13, lines 15-18

       4) p. 13, line 25 to p. 16, line 1

       5) p. 16, line 14 to p. 17, line 18

       6) p. 22, line 6 to p. 23, line 14

       7) p. 24, line 19 to p. 25, line 3

       8) p. 32, line 24 to p. 33, line 6

       9) p. 38, lines 23-25

       10) p. 45, line 20 to p. 46, line 13

       11) p. 47, line 25 to p. 48, line 25

       12) p. 53, lines 13-18

       13) p. 58,lines 7-23

       14) p. 72, lines 18-22

Ron Murff

       1) p. 7, lines 6-7

       2) p. 19, lines 12-13

Defendant Ian McCaw’s Designation of Deposition Testimony
(28937/751333/sdh)                                                        Page 4
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 24 of 61




       3) p. 28, lines 11-15

       4) p. 35, lines 21-24

       5) p. 38, line 20 to p. 39, line 3

       6) p. 39, line 23 to p. 40, line 9

       7) p. 208, line 14 to p. 212, line 23

       8) p. 213, line 9 to p. 216, line 1

       9) p. 216, line 8 to p. 218, line 19

       10) p. 218, line 22 to p. 219, line 24

       11) p. 224, line 21 to p. 225, line 5

Cary Gray

       1) p. 6, lines 7-9

       2) p. 8, 15-18

       3) p. 13, lines 18-22

       4) p. 270, line 17 to p. 273, line 4

       5) p. 273, line 23 to p. 274, line 14

       6) p. 275, lines 5-18

       7) p. 276, line 19 to p. 277, line 8

       8) p. 278, lines 8-10

       9) p. 287, line 13 to p. 288, line 16




Defendant Ian McCaw’s Designation of Deposition Testimony
(28937/751333/sdh)                                                        Page 5
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 25 of 61




                                              Respectfully submitted,

                                              /s/ Stephen D. Henninger
                                              THOMAS P. BRANDT
                                              State Bar No.02883500
                                              tbrandt@fhmbk.com
                                              STEPHEN D. HENNINGER
                                              State Bar No.00784256
                                              shenninger@fhmbk.com
                                              FANNING HARPER MARTINSON
                                              BRANDT & KUTCHIN, P.C.
                                              One Glen Lakes
                                              8140 Walnut Hill Lane, Suite 200
                                              Dallas, Texas 75231
                                              (214) 369-1300 (office)
                                              (214) 987-9649 (telecopier)
                                              ATTORNEYS FOR DEFENDANT
                                              IAN McCAW


                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing document
with the Clerk of the Court through the ECF system and an email notice of the electronic filing
was sent to all attorneys of record.

                                              /s/Stephen D. Henninger
                                              STEPHEN D. HENNINGER




Defendant Ian McCaw’s Designation of Deposition Testimony
(28937/751333/sdh)                                                                        Page 6
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 26 of 61




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DOLORES LOZANO,                        §
                                       §
        Plaintiff,                     §
                                       §
vs.                                    §
                                       §                  CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES, §
in his individual capacity; IAN        §
MCCAW, in his individual capacity, and §
CITY OF WACO,                          §
                                       §
        Defendants.                    §

                  DEFENDANT IAN McCAW’S REQUESTED JURY
                       INSTRUCTIONS AND QUESTIONS

        Defendant Ian McCaw (“Defendant” or “McCaw”) submits his proposed jury

instructions and questions, and requests that the following instructions and questions be

made part of the Court’s charge to the jury.

                                                  Respectfully submitted,

                                                  /s/ Thomas P. Brandt
                                                  THOMAS P. BRANDT
                                                  State Bar No.02883500
                                                  tbrandt@fhmbk.com
                                                  STEPHEN D. HENNINGER
                                                  State Bar No.00784256
                                                  shenninger@fhmbk.com
                                                  FANNING HARPER MARTINSON
                                                  BRANDT & KUTCHIN, P.C.
                                                  One Glen Lakes
                                                  8140 Walnut Hill Lane, Suite 200
                                                  Dallas, Texas 75231
                                                  (214) 369-1300 (office)
                                                  (214) 987-9649 (telecopier)
                                                  ATTORNEYS FOR DEFENDANT
                                                  IAN McCAW

Defendant Ian McCaw’s Requested Jury Instructions and Questions                      Page 1
(28937/751225/sdh)

                                                                                        EXHIBIT 7
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 27 of 61




                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 15, 2023, I electronically filed the foregoing
document with the Clerk of the Court through the ECF system and an email notice of the
electronic filing was sent to all attorneys of record.


                                                  /s/ Thomas P. Brandt
                                                  THOMAS P. BRANDT




Defendant Ian McCaw’s Requested Jury Instructions and Questions                  Page 2
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 28 of 61




Requested Instruction Number 1

MEMBERS OF THE JURY:

        Now that you have heard all of the evidence, it becomes my duty to give you the

instructions of the Court concerning the law applicable to this case.

        It is my duty and responsibility to instruct you on the law you are to apply in this case.

The law contained in these instructions is the only law you may follow. It is your duty to

follow what I instruct you the law is, regardless of any opinion that you might have as to what

the law ought to be.

        If I have given you the impression during the trial that I favor either party, you must

disregard that impression. If I have given you the impression during the trial that I have an

opinion about the facts of this case, you must disregard that impression. You are the sole

judges of the facts of this case. Other than my instructions to you on the law, you should

disregard anything I may have said or done during the trial in arriving at your verdict.

        You should consider all of the instructions about the law as a whole and regard each

instruction in light of the others, without isolating a particular statement or paragraph.

        The testimony of the witnesses and other exhibits introduced by the parties constitute

the evidence. The statements of counsel are not evidence; they are only arguments. It is

important for you to distinguish between the arguments of counsel and the evidence on which

those arguments rest. What the lawyers say or do is not evidence. You may, however,

consider their arguments in light of the evidence that has been admit- ted and determine

whether the evidence admitted in this trial supports the arguments. You must determine the

facts from all the testimony that you have heard and the other evidence submitted. You are the


Defendant Ian McCaw’s Requested Jury Instructions and Questions                              Page 3
(28937/751225/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 29 of 61




judges of the facts, but in finding those facts, you must apply the law as I instruct you.

         You are required by law to decide the case in a fair, impartial, and unbiased manner,

based entirely on the law and on the evidence presented to you in the courtroom. You may not

be influenced by passion, prejudice, or sympathy you might have for the plaintiff or the

defendant in arriving at your verdict.

         Source: Fifth Circuit Pattern Jury Instructions, Civil, No. 3.1 (2020).


Requested Instruction Number 2

         Plaintiff Dolores Lozano has the burden of proving her case by a preponderance of the

evidence. To establish by a preponderance of the evidence means to prove something is more

likely so than not so. If you find that the Plaintiff Dolores Lozano has failed to prove any

element of her claim by a preponderance of the evidence, then she may not recover on that

claim.

         Source: Fifth Circuit Pattern Jury Instructions, Civil, No. 3.2 (2020).



         Requested Instruction Number 3

         The evidence you are to consider consists of the testimony of the witnesses, the

documents and other exhibits admitted into evidence, and any fair inferences and reasonable

conclusions you can draw from the facts and circumstances that have been proven.

         Generally speaking, there are two types of evidence. One is direct evidence, such as

testimony of an eyewitness. The other is indirect or circumstantial evidence. Circumstantial

evidence is evidence that proves a fact from which you can logically conclude another fact

exists. As a general rule, the law makes no distinction between direct and circumstantial

Defendant Ian McCaw’s Requested Jury Instructions and Questions                              Page 4
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 30 of 61




evidence, but simply requires that you find the facts from a preponderance of all the evidence,

both direct and circumstantial.

        Source: Fifth Circuit Pattern Jury Instructions, Civil, No. 2. (2020)

Requested Instruction Number 4

        You alone are to determine the questions of credibility or truthfulness of the

witnesses. In weighing the testimony of the witnesses, you may consider the witness's manner

and demeanor on the witness stand, any feelings or interest in the case, or any prejudice or

bias about the case, that he or she may have, and the consistency or inconsistency of his or her

testimony considered in the light of the circumstances. Has the witness been contradicted by

other credible evidence? Has he or she made statements at other times and places contrary to

those made here on the witness stand? You must give the testimony of each witness the

credibility that you think it deserves.

        Even though a witness may be a party to the action and therefore interested in its

outcome, the testimony may be accepted if it is not contradicted by direct evidence or by any

inference that may be drawn from the evidence, if you believe the testimony.

        You are not to decide this case by counting the number of witnesses who have

testified on the opposing sides. Witness testimony is weighed; witnesses are not counted. The

test is not the relative number of witnesses, but the relative convincing force of the evidence.

The testimony of a single witness is sufficient to prove any fact, even if a greater number of

witnesses testified to the contrary, if after considering all of the other evidence, you believe

that witness.

        Source: Fifth Circuit Pattern Jury Instructions, Civil, No. 3.4 (2020).


Defendant Ian McCaw’s Requested Jury Instructions and Questions                         Page 5
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 31 of 61




Requested Instruction Number 5

        The fact that a person brought a lawsuit and is in court seeking damages creates no

inference that the person is entitled to a judgment. Anyone may make a claim and file a

lawsuit. The act of making a claim in a lawsuit, by itself, does not in any way tend to

establish that claim and is not evidence.

        Source: Fifth Circuit Pattern Jury Instructions, Civil, No. 3.6 (2020).


Requested Instruction Number 6

        Plaintiff Dolores Lozano claims that Defendant Ian McCaw was negligent. To recover

damages for the alleged negligence of Defendant Ian McCaw, Plaintiff Dolores Lozano must

prove by a preponderance of the evidence that: (1) Defendant Ian McCaw owed Plaintiff

Dolores Lozano a duty of care; (2) Defendant Ian McCaw breached that duty; and (3)

Defendant Ian McCaw’s breach of duty was the proximate cause of an injury to Plaintiff

Dolores Lozano.

        Source: Fifth Circuit Pattern Jury Instructions, Civil, Nos. 10.1 and 10.5 (2020)
        (modified); Nabors Drilling, U.S.A., Inc. v. Escoto, 288 S.W.3d 401, 404 (Tex. 2009);
        Urbach v. United States, 869 F.2d 829, 831 (5th Cir. 1989).

Requested Instruction Number 7

        You are instructed that, in the absence of a special relationship, a person has no legal

duty to protect another from the criminal acts of a third person, or to control the third

person’s conduct.     You are further instructed that there        is   no   special relationship

between a university and its students, and thus no duty to control third-parties or protect

students from the conduct of third parties.



Defendant Ian McCaw’s Requested Jury Instructions and Questions                          Page 6
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 32 of 61




        Source: Boyd v. Texas Christian Univ., 8 S.W.3d 758, 760 (Tex. App. – Fort Worth
        1999, no pet.); Gatten v. McCarley, 391 S.W.3d 689, 674 (Tex. App. – Dallas 2013,
        no pet.); Thapar v. Zezulka, 994 S.W.2d 635 (Tex. 1999); Hux v. Southern Methodist
        Univ., 819 F.3d 776. 781 (5th Cir. 2016); Tanja H. v. Regents of the Univ. of
        Calif., 228 Cal.App.3d 434 (1991) (collecting cases); Guest v. Hansen, 603 F.3d 15,
        17 (2d Cir. 2010); Freeman v. Busch, 349 F.3d 582, 587-588 (8th Cir. 2003); Rabel
        v. Illinois Wesleyan Univ., 514 N.E.2d 552, 560-561 (Ill. App. Ct. 4th Dist. 1987).

Requested Instruction Number 8

        “Negligence” means failure to use ordinary care, that is, failing to do that which a

person of ordinary prudence would have done under the same or similar circumstances or

doing that which a person of ordinary prudence would not have done under the same or

similar circumstances.

        “Ordinary care” means that degree of care that would be used by a person of ordinary

prudence under the same or similar circumstances.

        Source: Texas Pattern Jury Charges, General Negligence, Intentional Personal Torts &
        Workers’ Compensation, 2.1.


Requested Instruction Number 9

        “Proximate cause” means a cause, unbroken by any new and independent cause, that

was a substantial factor in bringing about an injury, and without which cause such injury

would not have occurred. In order to be a proximate cause, the act or omission complained of

must be such that a person using ordinary care would have foreseen that the injury, or some

similar injury, might reasonably result therefrom. There may be more than one proximate

cause of an injury, but if an act or omission of any person not a party to the suit was the “sole

proximate cause” of an injury, then no act or omission of any party to the suit could have been

a proximate cause.


Defendant Ian McCaw’s Requested Jury Instructions and Questions                          Page 7
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 33 of 61




        A ”new and independent cause” of an injury is the act or omission of a separate and

independent agent, not reasonably foreseeable, that destroys the causal connection, if any,

between the act or omission inquired about and the injury in question.

        Source: Texas Pattern Jury Charges, General Negligence, Intentional Personal Torts &
        Workers’ Compensation, 3.1 and 3.2.

Requested Instruction Number 10

        You are further instructed that the criminal conduct of a third-party is a superseding

cause relieving the Defendants from liability, unless the criminal conduct was a foreseeable

result of the Defendants’ alleged negligence.

        Source: Trammel Crow Central Tex. Ltd v. Gutierrez, 267 S.W.2d 9, 12 (Tex. 2008);
        Urbach v. United States, 869 F.2d 829, 833 (5th Cir. 1989); Garza v. United States,
        809 F.2d 1170, 1174 (5th Cir. 1987).



Requested Instruction Number 11

        You are further instructed that Defendant Ian McCaw was acting within the course

and scope of his employment with Baylor University at the time of the events on which this

suit is based. As such, Baylor University is liable to Plaintiff for Defendant Ian McCaw’s

negligent conduct, if any.

        Source: Leadon v. Kimbrough Bros. Lumber Co., 484 S.W.2d 567 (Tex. 1972);
        Robertson Tank Lines v. Van Cleave, 468 S.W.2d 354 (Tex. 1971).




Defendant Ian McCaw’s Requested Jury Instructions and Questions                       Page 8
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 34 of 61




Requested Instruction No. 12

        You will need to determine whether Lozano filed this lawsuit within the time allowed

by law. This period of time is known as the statute of limitations. A party asserting negligence

claims must file their suit within two years after the day the claim “accrues.” Lozano filed this

lawsuit on October 11, 2016.


        A negligence claim accrues when a wrongful act causes an injury, regardless of when

the injured party learns of the injury and regardless of whether all of the resulting damage

from the injury has occurred. The claim accrues even if the injured person did not know the

specific nature of each wrongful act by a defendant that may have caused the injury.


Source: Timberlake v. A.H. Robins Co., 727 F.2d 1363, 1365–66 (5th Cir. 1984) (accrual of
the state law claims is decided under state law, while accrual of the federal claim is decided in
accordance with federal law); Milton v. Stryker Corp., 551 F. App’x 125, 127 (5th Cir. 2014);
Doe v. St. Stephen’s Episcopal Sch., 382 F. App’x 386, 389 (5th Cir. 2010) (“To bring a suit,
it is not necessary for the victim to connect the abuse to any subsequent psychological injuries
or understand the full extent of his injuries.”); Texas Soil Recycling, Inc. v. Intercargo Ins.
Co., 273 F.3d 644, 650 (5th Cir. 2001) (citing KPMG Peat Marwick v. Harrison Cnty. Hous.
Fin. Corp., 988 S.W.2d 746, 749 (Tex. 1999)); see, e.g., Mayzone v. Missionary Oblates of
Mary Immaculate of Tex., 2014 WL 3747249, at *4 (Tex. App.—San Antonio July 30, 2014,
pet. den.) (in a case in which a church allegedly knew about and ignored a priest’s history of
sex abuse, plaintiff’s knowledge of his own sexual abuse was the relevant knowledge for
accrual purposes against the priest and the church).

Requested Instruction No. 13

        The Defendants contend that, prior to October 11, 2014, Lozano knew, or through the

exercise of reasonable diligence should have known, of the existence of her injury and the

connection between Baylor’s actions and her injury.


        Lozano contends that Defendants fraudulently concealed the existence of her claims

from her until May 26, 2016, and that her claims were filed within two years of that date.
Defendant Ian McCaw’s Requested Jury Instructions and Questions                         Page 9
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 35 of 61




When a party has fraudulently concealed the facts forming the basis of the plaintiff’s claim,

accrual is tolled until the party learns of facts, conditions, or circumstances which would

cause a reasonably prudent person to make inquiry, which, if pursued, would lead to

discovery of the concealed cause of action.


Source: Borderlon v. Peck, 662 S.W.2d 907, 908 (5th Cir. 1983); Marcus & Millichap Real
Estate Investment Services of Nevada Inc. v. Triex Texas Holdings LLC, 659 S.W.3d 456, 463
(Tex. 2023); KPMG Peat Marwick v. Harrison Cnty. Hous. Fin. Corp., 988 S.W.2d 746, 750
(Tex. 1999).


        Fraudulent concealment requires proof that the party knew the plaintiff was wronged,

the party used deception to conceal the wrong, and the plaintiff reasonably relied on the

deception. Failure to act in the face of knowledge of abuse does not constitute deception or

fraudulent concealment.


Source: ExxonMobil Corp. v. Lazy R Ranch LLP, 511 S.W.3d 538, 554 (Tex. 2017) (plaintiff
must show “defendant actually knew the plaintiff was in fact wronged and concealed that fact
to deceive the plaintiff”); Tipton v. Brock, 431 S.W.3d 673, 681 (Tex. App. – El Paso 2014,
pet. den.) (fraudulent concealment requires: “(1) the existence of the underlying tort; (2) the
defendant’s knowledge of the tort; (3) the defendant’s use of deception to conceal the tort;
and (4) the plaintiff’s reasonable reliance on the deception.”); King-White, 803 F.3d at 764
(holding that “failure to act in the face of knowledge of abuse” was insufficient to establish
fraudulent concealment; plaintiff must show active concealment); Marcus & Millichap Real
Estate Investment Services, 659 S.W.3d at 463 (evidence did not support conclusion that
defendants “actively misled” plaintiff).

Requested Instruction No. 14

        The Defendants bear the burden of proving by a preponderance of the evidence that

Lozano did not bring suit within the applicable two-year time period. Lozano bears the burden

of proving that the Defendants engaged in fraudulent concealment and that, despite her

exercise of due diligence, she was unable to discover the factual basis for her claims. The


Defendant Ian McCaw’s Requested Jury Instructions and Questions                        Page 10
(28937/751225/sdh)
        Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 36 of 61




statute of limitations and fraudulent concealment must be proven as to each Defendant

separately. In other words, Lozano’s claims could be barred against one defendant but not

another.


Source: Draughon v. Johnson, 631 S.W.3d 81, 90 (Tex. 2021) (plaintiff bears the burden of
proving a tolling defense).


Requested Jury Question No. 1

        Have the Defendants proven by a preponderance of the evidence that Dolores Lozano

knew or should have known of her injury prior to October 11, 2014?


Answer “Yes” or “No”: ____________

                If you answered “Yes,” then answer Jury Question No. 2. If you answered
                “No,” then answer Jury Question No. 3.



Requested Jury Question No. 2

        Has Dolores Lozano proven by a preponderance of the evidence that the Defendants

fraudulently concealed facts forming the basis of her claims and that, despite her exercise of

due diligence, she failed to discover the factual basis for her claims prior to October 14,

2014?


Answer “Yes” or “No”: _____________

                If you answered “Yes,” then proceed to Jury Question No. 3. If you answered
                “No,” then do not answer any further questions.




Defendant Ian McCaw’s Requested Jury Instructions and Questions                       Page 11
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 37 of 61




Requested Jury Question No. 3

        Did the negligence, if any, of those named below proximately cause the injury in

question?

        Answer “Yes” or “No” for each of the following:


        1. Baylor University
        2. Dolores Lozano

        Source: Texas Pattern Jury Charges, General Negligence, Intentional Personal Torts &
        Workers’ Compensation, 4.1.


Requested Jury Question No. 4

        In you answered “Yes” to Question No. 3 for more than one of those named below,

then answer the following question. Otherwise, do not answer the following question.

        Assign percentages of responsibility only to those you found caused or contributed

to cause the injury. The percentages you find must total 100 percent. The percentages

must be expressed in whole numbers. The percentage of responsibility attributed to

anyone is not necessarily measured by the number of acts of omissions found. The

percentage attributable to anyone need not be the same percentage attributed to that

person in answering another question.

        For each person you found caused or contributed to the injury, find the percentage

of responsibility attributable to each:

            1. Baylor University                           %
            2. Dolores Lozano                              %
                                 TOTAL:            100%

Defendant Ian McCaw’s Requested Jury Instructions and Questions                     Page 12
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 38 of 61




        Source: Texas Pattern Jury Charges, General Negligence, Intentional Personal Torts &
        Workers’ Compensation, 4.3.


Requested Instruction Number 15

       If Plaintiff Dolores Lozano has proved her negligence claims against Defendants by a

preponderance of the evidence, you must determine the damages to which Plaintiff is

entitled. You should not interpret the fact that I am giving instructions about Plaintiff's

damages as an indication in any way that I believe that Plaintiff should, or should not, win

this case. It is your task first to decide whether Defendants are liable. I am instructing

you on damages only so that you will have guidance in the event you decide that

Defendants are liable and that Plaintiff is entitled to recover money from Defendants.

       Source: Fifth Circuit Pattern Jury Instructions, Civil, No. 15.1 (2020).

Requested Instruction Number 16

       If you find that Defendants are liable to Plaintiff Dolores Lozano, then you must

determine an amount that is fair compensation for all of Plaintiff's damages. These

damages are called compensatory damages. The purpose of compensatory damages is to

make Plaintiff whole—that is, to compensate Plaintiff for the damage that she has

suffered. Compensatory damages are not limited to expenses that Plaintiff may have

incurred because of her injury. If Plaintiff wins, she is entitled to compensatory damages for

the physical injury, pain and suffering, and mental anguish that she has suffered because

of Defendants’ wrongful conduct, if any.

       You may award compensatory damages only for injuries that Plaintiff proves were

proximately caused by Defendants’ allegedly wrongful conduct. The damages that you

Defendant Ian McCaw’s Requested Jury Instructions and Questions                       Page 13
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 39 of 61




award must be fair compensation for all of Plaintiff's damages, no more and no less.

       Damages are not allowed as a punishment and cannot be imposed or increased t o

penalize Defendants. You should not award compensatory damages for speculative

injuries, but only for those injuries that Plaintiff has actually suffered or that Plaintiff is

reasonably likely to suffer in the future.

       If you decide to award compensatory damages, you should be gui ded by

dispassionate common sense. Computing damages may be difficult, but you must not let that

difficulty lead you to engage in arbitrary guesswork. On the other hand, the law does

not require that Plaintiff prove the amount of her losses with mathematical precision,

but only with as much definiteness and accuracy as the circumstances permit.

       You must use sound discretion in fixing an award of damages, drawing reasonable

inferences where you find them appropriate from the facts and circumstances in evidence.

       To recover compensatory damages for mental and emotional distress, Plaintiff Dolores

Lozano must prove that she has suffered a specific discernable injury with credible evidence.

Hurt feelings, anger, and frustration are part of life and are not the types of harm that could

support a mental-anguish award. Evidence of mental anguish need not be corroborated by

doctors, psychologists, or other witnesses, but Plaintiff must support her claims with

competent evidence of the nature, extent, and duration of the harm. Damages for mental or

emotional distress must be based on the evidence at trial. They may not be based on

speculation or sympathy.

       You should consider the following elements of damage, to the extent you find them

proved by a preponderance of the evidence:


Defendant Ian McCaw’s Requested Jury Instructions and Questions                        Page 14
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 40 of 61




       A. Mental anguish sustained in the past.

       Source: Fifth Circuit Pattern Jury Instructions, Civil, Nos. 10.13 and 15.2 (2020).


Requested Instruction Number 17

        Answer Question No. 5 if you answered “Yes” for Baylor University to Question No.
3, and answered:

        1. “No” for Dolores Lozano to Question No. 3; or
        2. 50 percent or less for Dolores Lozano to Question No. 4.

Otherwise, do not answer Question No. 5.

        Source: Texas Pattern Jury Charges, General Negligence, Intentional Personal Torts &
        Workers’ Compensation, 28.1.

Requested Jury Question No. 5

       What sum of money, if any, if paid now in cash, do you find from a preponderance

of the evidence would fairly and reasonably compensate Plaintiff Dolores Lozano for her

compensatory damages that were a direct and proximate result of the wrongful conduct

you have found that Defendants engaged in, if any?

       Answer in dollars and cents, if any.

        A.      Mental anguish sustained in the past:

                Answer: $




Defendant Ian McCaw’s Requested Jury Instructions and Questions                      Page 15
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 41 of 61




Requested Instruction Number 18

        It is now your duty to deliberate and to consult with one another in an effort to

reach a verdict. Each of you must decide the case for yourself, but only after an

impartial consideration of the evidence with your fellow jurors. During your

deliberations, do not hesitate to reexamine your own opinions and change your mind

if you are convinced that you were wrong. But do not give up on your honest beliefs

because the other jurors think differently, or just to finish the case.

        Remember at all times, you are the judges of the facts. You have been allowed to

take notes during this trial. Any notes that you took during this trial are only aids to

memory. If your memory differs from your notes, you should rely on your memory and

not on the notes. The notes are not evidence. If you did not take notes, rely on your

independent recollection of the evidence and do not be unduly influenced by the notes of

other jurors. Notes are not entitled to greater weight than the recollection or

impression of each juror about the testimony.

        When you go into the jury room to deliberate, you may take with you a copy of

this charge, the exhibits that I have admitted into evidence, and your notes. You must

select a presiding juror to guide you in your deliberations and to speak for you here in the

courtroom.

        Your verdict must be unanimous. After you have reached a unanimous verdict, your

presiding juror must fill out the answers to the written questions on the verdict form

and sign and date it. After you have concluded your service and I have discharged the

jury, you are not required to talk with anyone about the case.


Defendant Ian McCaw’s Requested Jury Instructions and Questions                      Page 16
(28937/751225/sdh)
       Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 42 of 61




        If you need to communicate with me during your deliberations, the presiding

juror should write the inquiry and give it to the court security officer. After consulting

with the attorneys, I will respond either in writing or by meeting with you in the

courtroom. Keep in mind, however, that you must never disclose to anyone, not even to

me, your numerical division on any question.

        You may now proceed to the jury room to begin your deliberations.

        Source: Fifth Circuit Pattern Jury Instructions, Civil, No. 3.7 (2020).




Defendant Ian McCaw’s Requested Jury Instructions and Questions                    Page 17
(28937/751225/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 43 of 61




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

DOLORES LOZANO,                                  §
                                                 §
        Plaintiff,                               §
                                                 §
vs.                                              §
                                                 §        CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,                   §
in his individual capacity; IAN MCCAW,           §
in his individual capacity, and CITY OF          §
WACO,                                            §
                                                 §
        Defendants.                              §


                      DEFENDANT IAN McCAW’S MOTION IN LIMINE

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Ian McCaw, a Defendant in the above-styled and numbered cause, and,

after this case has been assigned for trial, and prior to the voir dire examination of the jury panel

in connection with such trial, files this Motion in Limine. Defendant respectfully moves the

Court to instruct Plaintiff not to mention within the hearing of any member of the jury panel,

either in voir dire examination, upon reading of the pleadings, upon statement of the case, by

interrogation of the witnesses, in argument, by objections in the presence of the jury, or

otherwise, any of the following matters, either directly or indirectly, nor to refer to, interrogate

concerning, or otherwise apprise the jury of any of the following matters until each such matter

has been called to the Court’s attention out of the presence and hearing of the jury, and a ruling

had by the Court as to the competency of each such matter outside the presence and hearing of

any members of the jury or jury panel. It is further moved that Plaintiff be instructed to apprise

each of Plaintiff’s witnesses of the contents of this motion so that it not be inadvertently violated
Defendant Ian McCaw’s Motion in Limine                                                         Page 1
(28937/751226/sdh)



                                                                                             EXHIBIT 8
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 44 of 61




by a witness. The matters subject to this motion in limine are as follows:

                                                  I.

                                                  1.

        Any mention of any argument or any evidence whatsoever, be it in any form (e.g.,

testimonial evidence, documentary evidence, or any other form of evidence), which is intended

to present or which does present any argument in support of or evidentiary support for any

alleged claim that Plaintiff may consider herself to have brought against Ian McCaw since

Plaintiff has never, in all the years this litigation has been pending, alleged in a complaint, filed

with this Court, any specific, factual allegations against Ian McCaw which, if proven, would

entitle Plaintiff to have a judge or jury find that she is entitled to any recovery against him, under

any theory of liability, a judgment for money damages or any other relief under the law. See,

U.S. Constitution, Article III, section 2 (jurisdiction is limited to cases or controversies); see

also, U.S. Constitution, Amendment V (No person shall be … deprived of property without due

process of law); U.S. Constitution, Amendment XIV, section 1 (“nor shall any State deprive any

person of life, liberty, or property without due process of law); see also Fed. R. Civ. P. No. 1

(The rules “should be construed, administered, and employed by the court and the parties to

secure the just, speedy, and inexpensive determination of every action and proceeding.”); Fed. R.

Civ. Proc. No. 3 (A civil action is commenced by filing a complaint with the court.); Fed. R. Civ.

Proc. No. 8(a) (A pleading that states a claim for relief must contain: (1) a short and plain

statement of the grounds for the court’s jurisdiction, unless the court already has jurisdiction and

the claim need no new jurisdictional support; (2) a short and plain statement of the claim

showing that the pleader is entitled to relief; and (3) a demand for the relief sought, which may

include relief in the alternative or different types of relief.”); see also Fed. R. Civ. Proc. No.
Defendant Ian McCaw’s Motion in Limine                                                          Page 2
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 45 of 61




11(b)(3) (“By presenting to the court a pleading, … an attorney … certifies that to the best of the

person’s knowledge, information, and belief, formed after an inquiry reasonable under the

circumstances: … (1) it is not being presented for any improper purpose, such as to harass, … or

needlessly increase the cost of litigation; … (3) the factual contentions have evidentiary support,

or, if specifically so identified, will likely have evidentiary support after a reasonable opportunity

for further investigation or discovery…); see also Fed. R. Civ. Proc. No. 12(b)(1) (a court must

dismiss a case for which it lacks jurisdiction. A claim should be dismissed for lack of subject-

matter jurisdiction “when the court does not have statutory or constitutional power to adjudicate

the case.” In re FEMA Trailer Formaldehyde Prods. Liab. Litig., 668 F.3d 281, 286 (5th

Cir.2012). The party asserting jurisdiction bears the burden of proof to establish jurisdiction.);

see also, Fed. R. Civ. Proc. 15(b)(2) (Defendant Ian McCaw hereby affirmative states that he is

not, does not, and will not expressly or by implication consent to trial of any issues against him

as no such issues have been raised against him by Plaintiff’s Complaint and because he has not

been properly given notice of any such issues Plaintiff may be intending to raise against him as

such a proceeding against him violates his rights to substantive and procedural due process of

law); see also Fed. R. Civ. Proc. No. 26 (Even if Plaintiff had listed any factual allegations

against Defendant Ian McCaw (she has not), Plaintiff has not properly disclosed any factual

allegation Ian McCaw as required by this rule.); see also Fed. R. Civ. Proc. No. 37 (c)(1) (listing

remedies available for Plaintiff’s failure to disclose and to supplement).

        “Federal courts are courts of limited jurisdiction, and absent jurisdiction conferred by

statute, lack the power to adjudicate claims.” Stockman v. FEC, 138 F.3d 144, 151 (5th Cir.

1998). The court “must presume that a suit lies outside this limited jurisdiction, and the burden of

establishing federal jurisdiction rests on the party seeking the federal forum.” Howery v. Allstate
Defendant Ian McCaw’s Motion in Limine                                                          Page 3
(28937/751226/sdh)
           Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 46 of 61




Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001). Accordingly, “before a federal court can consider

the merits of a legal claim, the person seeking to invoke the jurisdiction of the court must

establish the requisite standing to sue.” Whitmore v. Arkansas, 495 U.S. 149, 154 (1990).

        To establish standing under Article III, “a plaintiff must show (1) it has suffered an

‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent, not conjectural

or hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant; and (3)

it is likely, as opposed to merely speculative, that the injury will be redressed by a favorable

decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81

(2000). “The injury must affect the plaintiff in a personal and individual way.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 n.1 (1992).

        Dolores Lozano lacks individual standing under Article III because she has not identified

an injury that is fairly traceable to any of McCaw’s challenged conduct. In fact, Lozano has

failed to identify any challenged conduct by McCaw. Lozano’s live complaint only contains

vague allegations that do not put McCaw on notice for an injury that is fairly traceable to his

actions.    Consequently, Dolores Lozano lacks standing to pursue individual claims against

McCaw. The Court lacks jurisdiction and must dismiss with prejudice the state law negligence

claims of Lozano against McCaw and must certainly not allow any arguments to be made at trial

of any evidence to be presented at trial which is intended to or does directly or by implication

call for any verdict to be rendered by the jury in favor of Dolores Lozano against Ian McCaw on

any claim she may have intended to plead or may have arguably pled against Ian McCaw.

                                                  2.

        Any mention or reference to other lawsuits, litigation, or claims against Baylor

University, Ian McCaw, or Art Briles, as such evidence is not relevant and the prejudicial effect
Defendant Ian McCaw’s Motion in Limine                                                          Page 4
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 47 of 61




would far outweigh any probative value. See Fed. R. Evid. 401, 402, and 403.

                                                  3.


        Any allegation or argument that Defendant or its counsel delayed this litigation for any

reason, or took any action for the purpose of increasing the costs of litigation, or delaying trial, or

committed any abuse of discovery. Such allegations are untrue, irrelevant, inflammatory, and

prejudicial. See Fed.R.Evid 401, 402, and 403

                                                  4.

        Any statement or reference to any offers of settlement which have been made or not

made, or any reference to the fact that this lawsuit could not be or was not settled, compromised,

or resolved with the Defendant. See Fed.R.Evid 408.

                                                  5.

        Any mention or reference to the failure to call a witness available equally to either party.


                                                  6.

        Any reference or mention of or statement regarding the probable testimony of a witness

who is absent, unavailable, or not called to testify in this cause of action.

                                                  7.

        Any testimony, documents, and/or any other evidence that Plaintiff did not timely

produce in her required disclosures and/or in response to discovery requests directed at such

information.

                                                  8.

        Any expert testimony of any kind or character from a witness who has not been properly

designated as an expert in accordance with the Court’s Scheduling Order and the Federal Rules
Defendant Ian McCaw’s Motion in Limine                                                           Page 5
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 48 of 61




of Civil Procedure. See Fed.R,.Evid. 701, and 702; Fed.R.Civ.P. 26(a)(2); Thudium v. Allied

Prods. Corp., 36 F.3d 767, 769-70 (8th Cir. 1994).

                                                  9.

        Any request or offer in the presence of the jury or jury panel to stipulate or agree to any

fact or evidence, or any comment or reference to Defendant’s refusal to do so.

                                                 10.

        Any mention, reference to, or evidence of the relative financial positions of the parties, or

any comment, reference, or question comparing the resources of the Defendants to the Plaintiff

or as to any other party, or to ask any question about or comment or refer to the assets, liabilities,

ownership, or property or wealth of the Defendants. Such comments and/or evidence are

irrelevant to any issue in this case and serve only to improperly inflame and/or prejudice the jury.

See Fed.R.Evid. 401, 402, and 403.

                                                 11.

        Any reference to, or discussion of, the NCAA Baylor University Public Infractions

Decision of August 11, 2021. The Decision contains hearsay, and hearsay within hearsay. See

Fed.R.Evid. 801, 802, 805, 901, and 902. Further, the probative value of any relevant evidence

within it, if any, is outweighed by a danger of unfair prejudice, confusion of the issues, or

misleading of the fact-finder. See Fed.R.Evid. 403.

        Further, the NCAA Committee on Infractions (COI) acknowledged in the report that the

NCAA lacks jurisdiction and authority over Title IX issues; therefore, the COI’s statements are

irrelevant. See Dkt. 212-5, p. 3 (“the COI does not have a role to play alongside these entities in

investigating and sanctioning institutional responses to sexual and interpersonal violence.”).

The COI’s opinions on whether Baylor complied with Title IX are inadmissible legal
Defendant Ian McCaw’s Motion in Limine                                                          Page 6
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 49 of 61




conclusions. See Coastal Carolina Univ., 2021 WL 1651057, *2.

        The content of the NCAA report also shows that it was not made close in time to the

events discussed in the report, is not based on direct knowledge of the authors of the report, and

contains subjective interpretation which is generally excluded from the business records

exception. See, e.g., Abascal v. Fleckenstein, 820 F.3d 561, 565 (2nd Cir. 2016) (holding on

similar grounds that nonprofit group’s report on prison conditions was inadmissible). The

document also embeds hearsay from students and former employees. FED. R. EVID. 801, 802;

see, e.g., Dkt. 212-5, pp. 8-20. Out-of-court statements made by former Baylor employees

during the NCAA investigation are inadmissible under Rule 801(d). See, e.g., In re DePuy

Orthopaedics, Inc. Pinnacle Hip Implant Prod. Liability Lit., 888 F.3d 753, 786–87 (5th Cir.

2018) (finding error when plaintiffs’ counsel read into the record a resignation letter from

defendant’s employee; “Rule 801(d)(2)(D) does not apply to a resignation letter, where the

employee is no longer ‘inhibited by [his] relationship with the principal.’”); Charles v. Consol.

Fabrications Constr., Inc., 686 F. App’x 300, 303 (5th Cir. 2017) (out-of-court statement made

by former employee was inadmissible hearsay). The report also addresses drug testing issues

relating to athletes, which is irrelevant to this case

        Further, because it was issued seven years after Lozano’s alleged assaults, the NCAA

report is not evidence of prior notice of any deficiencies in its policies or programs relating to

Title IX, dating violence, athlete misconduct, or any other issue. FED. R. EVID. 401 (irrelevant).

                                                  12.

        Any reference to, or discussion of, any law enforcement Incident Reports for any events

other than the alleged incidents of violence made the basis of this suit. All such reports contain

hearsay, and hearsay within hearsay. See Fed.R.Evid. 801, 802, 805, 901, and 902.         Further,
Defendant Ian McCaw’s Motion in Limine                                                        Page 7
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 50 of 61




the probative value of any relevant evidence within them, if any, is outweighed by a danger of

unfair prejudice, confusion of the issues, or misleading of the fact-finder. See Fed.R.Evid. 403.

                                                13.

        Any evidence, testimony, and argument regarding incidents of student misconduct that

do not involve dating violence. In discrimination cases, incidents involving third parties are not

relevant unless the third parties are similarly situated to the plaintiff. Thus, in a Title VII case,

the Fifth Circuit has held that discrimination incidents involving other employees “cannot

establish that discrimination was a company’s standard operating procedure unless those

employees are similarly situated to the plaintiff”; moreover, admission of such evidence was

“substantially prejudicial” and forced the company to respond to each witness’s claim, creating

“several ‘trials within a trial.’” Wyvill v. United Companies Life Ins. Co., 212 F.3d 296, 303

(5th Cir. 2000) (emphasis added). The relevance of evidence of discrimination against others

depends in part on “how closely related the evidence is to the plaintiff’s circumstances and

theory of the case.” Sprint/United Management Co. v. Mendelsohn, 552 U.S. 379, 388 (2008).

        More recently, in Jane Doe 1 et v. Baylor Univ., this Court declined to compel

production of reports of “gender-based harassment” in a case that involved claims of sexual

assault; the reports of gender-based harassment were not relevant even if the harassment

followed an assault. Dkt. 302, Jane Doe 1 et al v. Baylor Univ., C.A. No. 6:16-CV-00173-RP,

in the United States District Court for the Western District of Texas. Courts routinely

distinguish sex-based assaults from other types of physical assaults. See, e.g., Doe v. Elson S.

Floyd College of Medicine at Wash. St. Univ., 2020 WL 4043975, * 8 (E.D. Wash., July 17,

2020) (plaintiff’s allegations that her boyfriend was “aggressive and angry toward her during

their breakup” and overturned a coffee table would not support a violation of Title IX); Doe v.
Defendant Ian McCaw’s Motion in Limine                                                          Page 8
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 51 of 61




Huntington Indep. Sch. Dist., 2020 WL 10317505, *5 (E.D. Tex., Oct. 5, 2020) (rejecting

heightened risk claim based on “culture of hazing” where athlete was sodomized with a

broomstick); see also Ruvalcaba v. Angleton Indep. Sch. Dist., 2022 WL 340592, *5 (5th Cir.,

Feb. 4, 2022) (“generalized bullying” not covered by Title IX).

        In this case, Lozano wishes to introduce evidence of incidents that bear no resemblance

to her claims of dating violence. Her complaint points to male-on-male fights and alleged rapes

which are not remotely similar to her claims. Sexual misconduct and dating violence are

factually and legally distinct. See, e.g., Timberwalk Apartments, Partners, Inc. v. Cain, 972

S.W.2d 749, 758 (Tex. 1998) (“a spate of domestic violence in the complex does not portend

third party sexual assaults or robberies”); Austin v. Univ. of Oregon, 2017 WL 4621802 (D. Or.,

June 7, 2017) (a “domestic violence event or a physical assault” have “nothing to do with an

allegation of failing to obtain consent prior to penetration”); Tate v. Zaleski, 2021 WL 5915067,

*2-3 (S.D. Miss. Dec. 14, 2021) (plaintiffs cited no cases “where evidence of a domestic

violence arrest is admissible in cases involving sexual harassment or hostile work environment

claims”).

        The evidence is not relevant, and any minimal probative value is substantially

outweighed by the risk it will confuse the issues, mislead the jury, waste time at trial, and cause

unfair prejudice. FED. R. EVID. 403. Such evidence would result in excessive “trials within the

trial” regarding Baylor’s response to other incidents. See Wyvill v. United Companies Life Ins.

Co., 212 F.3d 296, 303 (5th Cir. 2000) (admission of dissimilar incidents was “substantially

prejudicial” and forced the company to respond to each witness’s claim, creating “several ‘trials

within a trial.’”). Unrelated incidents are likely to confuse the issues and mislead the jury into

conflating its conclusions regarding those incidents with its conclusion in this case. And to the
Defendant Ian McCaw’s Motion in Limine                                                        Page 9
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 52 of 61




extent the jury finds fault with Baylor’s response to other incidents, the evidence incidents

would be unduly prejudicial by creating an undue tendency for the jury to find Baylor liable to

Lozano for its response to incidents that did not involve Lozano.

                                                14.

        Any evidence, testimony, and argument regarding student misconduct that does not

involve football players or that occurred prior to Chafin’s enrollment at Baylor in the summer of

2012. Lozano’s Title IX and negligence claims turn solely on incidents within the football

program. See Dkt. 50, ¶ 153 (alleging that sexual misconduct and dating violence were

“pervasive among its football program”); id. at ¶ 166 (alleging Baylor’s actions “increased the

likelihood that Lozano, and other female students, would be assaulted by football players”); id. at

¶ 86 (incidents “emboldened” football players). Lozano does not allege that conduct by non-

football players made it more likely that Chafin would assault Lozano. Nor does she contend that

conduct unknown to Chafin emboldened him. These other incidents are irrelevant, and any

minimal probative value is substantially outweighed by the risk they will confuse the issues,

mislead the jury, waste time at trial, and cause unfair prejudice by importing tangential issues

involving Baylor’s response to the other incidents. And to the extent the jury finds fault with

Baylor’s response to those other incidents, the introduction of those incidents is unfairly

prejudicial because it creates an undue tendency for the jury to find Baylor liable to Lozano for

its response to incidents that did not involve her. FED. R. EVID. 403.


                                               15.

        Any evidence, testimony, and argument regarding the Board of Regents May 2016

“Findings of Fact” (“FOF”) which were released after the Pepper Hamilton investigation. Dkt.

Defendant Ian McCaw’s Motion in Limine                                                      Page 10
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 53 of 61




218-6. The FOF states that its findings are “based on the law, related authority, facts and

reasonable inferences from the facts” provided by Pepper Hamilton to the Regents. Id. at 2-3.

The FOF contains numerous legal conclusions in which some unidentified legal standard is

applied to the facts. The FOF’s overarching legal conclusion is “a fundamental failure by Baylor

to implement Title IX of the Education Amendments of 1972 (Title IX) and the Violence

Against Women Reauthorization Act of 2013 (VAWA).” Dkt. 218-6, FOF at 1. The FOF does

not reference Lozano or Chafin. Id.

        The legal conclusions in the Findings of Fact are inadmissible. See Muccie v. Dailey,

2022 WL 1746755, *2 (D. Mont., May 31, 2022) (“Whether BSD failed to adhere to Title IX

constitutes an ultimate legal conclusion” and any opinions to that effect were inadmissible); see

generally Hoyt v. Lane Constr. Corp., 927 F.3d 287, 299 n. 5 (5th Cir. 2019) (legal conclusions

may not be used as evidentiary admissions); Eagleston v. Guido, 41 F.3d 865, 873–74 (2d Cir.

1994) (police commissioner’s views on whether a policy violated the law “would be

inadmissible because they are legal conclusions concerning an ultimate issue in the case”).

        Moreover, the Findings of Fact contain legal conclusions based on Baylor’s compliance

or noncompliance with the Clery Act and the VAWA amendments, but, as above, such

statements are inadmissible as a matter of law. 20 U.S.C. § 1092(f)(14)(B) (emphasis added).

        If the statements are admitted, there is a substantial risk of prejudice to Baylor and of

confusion of the issues. The FOF contains a mixture of opinions based on the VAWA

amendments and federal administrative guidance (the 2011 Dear Colleague Letter and other

unspecified administrative guidance). The FOF also contains numerous opinions regarding

sexual assault claims, which Lozano does not allege. It would be unduly prejudicial to Baylor to

expose the jury to legal conclusions formulated by Pepper Hamilton based on non-binding
Defendant Ian McCaw’s Motion in Limine                                                        Page 11
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 54 of 61




administrative guidance and a federal law (Clery/VAWA) that cannot be used to impose liability

on Baylor (Clery/VAWA).

        In addition, because the Findings of Fact were issued in May 2016, more than two years

after the assaults alleged by Lozano, the FOF is not evidence of prior notice by Baylor of any

deficiencies in its policies or programs. The report also contains hearsay in the form of out-of-

court statements by Pepper Hamilton, not Baylor, offered to prove the truth of the matter asserted

in the statement. FED. R. EVID. 801.


                                                 16.

        Reference to the filing of this Motion by Defendant, any ruling thereon by the Court, or

any suggestion or inference to the jury that Defendant has moved to prohibit any evidence or

proof or that the Court has excluded any evidence or proof.




                                                 II.


        Defendant further requests that if Plaintiff wishes to propose a theory of admissibility

concerning the matters set forth above, then the Court order that the Plaintiff first request a ruling

from the Court regarding such theory of admissibility outside the presence and hearing of all

jurors and prospective jurors.




Defendant Ian McCaw’s Motion in Limine                                                         Page 12
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 55 of 61




        WHEREFORE, PREMISES CONSIDERED, Defendant requests that this Honorable

Court order that Plaintiff and all of Plaintiff’s witnesses be required to refrain from any mention

or interrogation, directly or indirectly, in any manner whatsoever, including the offering of

documents through evidence, of any of the matters set forth in this Motion; Defendant further

prays for such other and further relief, both general or special, at law on in equity, to which it

may show itself to be justly entitled.


                                             Respectfully submitted,

                                             /s/ Thomas P. Brandt
                                             THOMAS P. BRANDT
                                             State Bar No.02883500
                                             tbrandt@fhmbk.com
                                             STEPHEN D. HENNINGER
                                             State Bar No.00784256
                                             shenninger@fhmbk.com
                                             FANNING HARPER MARTINSON
                                             BRANDT & KUTCHIN, P.C.
                                             One Glen Lakes
                                             8140 Walnut Hill Lane, Suite 200
                                             Dallas, Texas 75231
                                             (214) 369-1300 (office)
                                             (214) 987-9649 (telecopier)
                                             ATTORNEYS FOR DEFENDANT
                                             IAN McCAW

                                   CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing document
with the Clerk of the Court through the ECF system and an email notice of the electronic filing
was sent to all attorneys of record.


                                             /s/ Thomas P. Brandt
                                             THOMAS P. BRANDT




Defendant Ian McCaw’s Motion in Limine                                                      Page 13
(28937/751226/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 56 of 61




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

DOLORES LOZANO,                                   §
                                                  §
        Plaintiff,                                §
                                                  §
vs.                                               §
                                                  §    CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,                    §
in his individual capacity; IAN MCCAW,            §
in his individual capacity, and CITY OF           §
WACO,                                             §
                                                  §
        Defendants.                               §


              ORDER ON DEFENDANT IAN McCAW’S MOTION IN LIMINE

        ON THIS, the day of signing, came on to be considered Defendant Ian McCaw’s Motion

in Limine. The Court, having considered the motion and any responses, thereto, rules as follows:

        Request No. 1:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 2:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 3:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:
Order on Defendant Ian McCaw’s Motion in Limine                                           Page 1
(28937/751227/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 57 of 61




        Request No. 4:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 5:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 6:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 7:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 8:                     GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 9:                     GRANTED

                                           DENIED
Order on Defendant Ian McCaw’s Motion in Limine                            Page 2
(28937/751227/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 58 of 61




                                           MODIFIED AS FOLLOWS:

        Request No. 10:                    GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:



        Request No. 11:                    GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:

        Request No. 12:                    GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:

        Request No. 13:                    GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:

        Request No. 14:                    GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:

        Request No. 15:                    GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:

        Request No. 16:                    GRANTED

                                           DENIED

                                           MODIFIED AS FOLLOWS:
Order on Defendant Ian McCaw’s Motion in Limine                            Page 3
(28937/751227/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 59 of 61




                SIGNED the                 day of                 , 2023.




                                                    JUDGE PRESIDING




Order on Defendant Ian McCaw’s Motion in Limine                             Page 4
(28937/751227/sdh)
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 60 of 61




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

DOLORES LOZANO,                                    §
                                                   §
        Plaintiff,                                 §
                                                   §
vs.                                                §
                                                   §       CIVIL ACTION NO: 6:16-CV-403-RP
BAYLOR UNIVERSITY; ART BRILES,                     §
in his individual capacity; IAN MCCAW,             §
in his individual capacity, and CITY OF            §
WACO,                                              §
                                                   §
        Defendants.                                §

               DEFENDANT IAN McCAW’S ESTIMATE OF TRIAL LENGTH

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Ian McCaw, a Defendant in the above-styled and numbered cause

(“McCaw” or “Defendant”), and provides his estimate of the probable length of trial. McCaw

estimates that the trial of this case will last 1 and ½ to 2 weeks.

                                                 Respectfully submitted,

                                                 /s/ Thomas P. Brandt
                                                 THOMAS P. BRANDT
                                                 State Bar No.02883500
                                                 tbrandt@fhmbk.com
                                                 STEPHEN D. HENNINGER
                                                 State Bar No.00784256
                                                 shenninger@fhmbk.com
                                                 FANNING HARPER MARTINSON
                                                 BRANDT & KUTCHIN, P.C.
                                                 One Glen Lakes
                                                 8140 Walnut Hill Lane, Suite 200
                                                 Dallas, Texas 75231
                                                 (214) 369-1300 (office)
                                                 (214) 987-9649 (telecopier)
                                                 ATTORNEYS FOR DEFENDANT
                                                 IAN McCAW
Defendant Ian McCaw’s Estimate of Trial Length                                        Page 1
(28937/752279/sdh)




                                                                                     EXHIBIT 9
         Case 6:16-cv-00403-RP Document 251 Filed 09/15/23 Page 61 of 61




                                     CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing document
with the Clerk of the Court through the ECF system and an email notice of the electronic filing
was sent to all attorneys of record.


                                                 /s/ Thomas P. Brandt
                                                 THOMAS P. BRANDT




Defendant Ian McCaw’s Estimate of Trial Length                                             Page 2
(28937/752279/sdh)
